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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE




    In re:                                                        Chapter 11

    CMC II, LLC,1                                                 Case No. 21-10461 (xxx)

                     Debtors.                                     (Jointly Administered)



                      DECLARATION OF PAUL RUNDELL IN SUPPORT OF
                       CHAPTER 11 PETITIONS AND FIRST DAY PAPERS

             I, Paul Rundell, hereby declare under penalty of perjury that the following is true to the

best of my knowledge, information, and belief:

             1.     I am the Chief Restructuring Officer of Salus Rehabilitation, LLC and certain of its

affiliates, the debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors” or the “Company”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”).

             2.     I am a Managing Director of Alvarez & Marsal North America Corporate

Restructuring (“A&M”) in its Restructuring and Turnaround Group in Chicago, Illinois. I have

more than twenty (20) years of experience specializing in restructuring, and have assisted clients

with financial or operational challenges, including business strategy and planning, financial

analysis and support, cash management, crisis management, turnaround consulting, market

analysis and operational improvement. I have served as interim chief executive officer, chief



1
      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
      numbers, are as follows: CMC II, LLC (6973), Salus Rehabilitation, LLC (4037), 207 Marshall Drive
      Operations LLC (8470), 803 Oak Street Operations LLC (3900), Sea Crest Health Care Management, LLC
      (2940), and Consulate Management Company, LLC (5824). The address of the Debtors’ corporate
      headquarters is 800 Concourse Parkway South, Maitland, Florida 32751.
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restructuring officer, and held other officer positions in the restructuring context, both in and out

of court.

         3.      To minimize any business disruption caused by the commencement of these

Chapter 11 Cases, the Debtors seek various types of relief through “first day” applications and

motions filed contemporaneously herewith (collectively, the “First Day Papers”).2 I submit this

declaration (this “Declaration”) in support of the Debtors’ (a) voluntary petitions for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and (b) the First Day

Papers. I am authorized to submit this Declaration on behalf of the Debtors.

         4.      In my capacity as chief restructuring officer of the Debtors, and based upon my

review of relevant documents and my discussions with other members of the Debtors’ management

team, I am generally familiar with the Debtors’ day-to-day operations, business affairs, books and

records, and the information in the First Day Papers. The statements in this Declaration are, except

where specifically noted, based on (a) my personal knowledge of the Debtors’ operations and

finances based on information provided by the Debtors, (b) my review of relevant documents,

including information provided by other parties, (c) information provided to me by employees of

A&M working under my supervision, (d) information provided to me by, or discussions with, the

members of the Debtors’ management team or their other advisors, and/or (e) my opinion based

upon my experience. If called upon to testify, I would testify competently to the facts as set forth

in this Declaration.

         5.      This Declaration is divided into two parts. Part I provides background information

about the Debtors, their business operations, their corporate and capital structures, and the



2
    Unless otherwise defined herein, capitalized terms used herein shall have the meanings ascribed to them in the
    applicable First Day Papers.
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circumstances surrounding the commencement of the Chapter 11 Cases. Part II sets forth the

relevant facts in support of each of the First Day Papers.

                                              PART I

                                        BACKGROUND

I.     CHAPTER 11 FILINGS.

       6.      On the date hereof (the “Petition Date”), each of the Debtors commenced a case

by filing a petition for relief under chapter 11 of the Bankruptcy Code. The Debtors have requested

that the Chapter 11 Cases be jointly administered.

       7.       The Debtors continue to operate their business and manage their properties as

debtors and debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       8.      To date, the Office of the United States Trustee for the District of Delaware (the

“U.S. Trustee”) has not appointed a creditors committee in the Chapter 11 Cases, nor has any

trustee or examiner been appointed therein.

II.    THE DEBTORS’ BUSINESS.

       A.      Corporate Overview

       9.      These Chapter 11 Cases involve six debtor entities that are part of a family of

companies owned by non-Debtor LaVie Care Centers, LLC (“LVCC”), which does business as

Consulate Health Care (“Consulate”). The Debtors are Salus Rehabilitation, LLC (“Salus”),

CMC II, LLC (“CMC II”), 207 Marshall Drive Operations LLC (“Marshall”), 803 Oak Street

Operations LLC (“Governor’s Creek”), Sea Crest Health Care Management, LLC (“Sea Crest”),

and Consulate Management Company, LLC (“CMC I”). The six Debtors are the only LVCC-

owned entities in bankruptcy.    As further described below, three Debtors are active, operating



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companies (CMC II, Marshall and Governor’s Creek), while the remaining three are not (Sea

Crest, Salus, and CMC I).

         10.      The Debtors are part of a group of Consulate corporate affiliates that manage and

operate 140 skilled nursing facilities (“SNFs”, and such managed facilities, the “Managed

SNFs”), which are subject to various master leases between non-Debtor affiliated master tenants

and third-party landlords.         Generally, the operators of these SNFs (the “Managed SNF

Operators”) sublease their respective facilities from master tenants; while, in some cases, the

SNFs are leased directly from the landlords. At their facilities, the Managed SNF Operators

provide a variety of services that include short-term rehabilitation, comprehensive post-acute care,

long-term care, and physical, occupational, and speech therapies. The 140 Managed SNFs under

the Consulate umbrella are spread across six states in the Mid-Atlantic and Gulf Coast.

Importantly, approximately 85-90% of the revenue generated by the Managed SNFs comes from

government healthcare programs Medicare, Medicaid, or TRICARE for services provided to

residents who rely on such programs for their medical expenses.3

         B.       The Debtors

         11.      The Debtors in these Chapter 11 Cases are the following:

                  (i)     CMC II: Debtor CMC II, also referred to herein as the “Manager Debtor,”
                          provides centralized back office management and support services to the
                          140 Consulate Health Care SNFs. CMC II functions as a cost center for the
                          SNFs, charging an at-cost management fee, without markup, pursuant to
                          management agreements that are generally terminable on 60-days’ notice.

                  (ii)    Marshall: Marshall operates Marshall Health and Rehabilitation Center, a
                          120-bed SNF located in Perry, Florida. Marshall generated approximately
                          $450,000 in total free cash flow for the twelve month period ending January
                          31, 2021 (excluding the impact of CARES Act grants).


3
    TRICARE is a federal health care program for members of the military, veterans, and certain of their dependents
    and family members.
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               (iii)   Governor’s Creek: Governor’s Creek (together with Marshall, the
                       “Operator Debtors”) operates Governor’s Creek Health and
                       Rehabilitation, a 120-bed SNF located in Green Cove Springs, Florida.
                       Governor’s Creek lost approximately $330,000 in total free cash flow for
                       the twelve month period ending January 31, 2021 (excluding the impact of
                       CARES Act grants).

               (iv)    Salus: Prior to the corporate transactions discussed in Section II.E below,
                       Salus historically provided rehabilitation services to certain SNFs that are
                       now part of Consulate Health Care, including the Marshall and Governor’s
                       Creek SNFs. Salus is no longer operational.

               (v)     Sea Crest: Prior to the corporate transactions discussed in Section II.E
                       below, Sea Crest historically provided management and support services in
                       a manner similar to CMC II to certain SNFs that are now part of Consulate
                       Health Care, including the Marshall and Governor’s Creek SNFs. Sea Crest
                       is no longer operational.

               (vi)    CMC I: Prior to the corporate transactions discussed in Section II.E below,
                       CMC I historically provided certain management and support services in a
                       manner similar to CMC II to certain SNFs that are now part of Consulate
                       Health Care, including the Marshall and Governor’s Creek SNFs. CMC I
                       is no longer operational.

       C.      The Debtors’ Operations

       12.     In the Consulate organizational structure, Operators (both Debtor and non-debtor)

operate their respective facilities on a day-to-day basis, while Debtor CMC II provides the

Operators with centralized back office managerial support and administrative functions. The

Managed SNF Operators are licensed to provide skilled nursing care and employ a staff of

caregivers, maintenance workers, and onsite administrative personnel. An executive director and

clinical services director oversee operations at each Managed SNF. The Manager Debtor provides

the infrastructure for coordination and some management across the Consulate facilities that

allows the Managed SNF Operators to capitalize on various economies of scale.                  This

infrastructure functions in a tiered fashion, with regional leadership overseeing groups of eight to

ten SNFs, divisional leadership overseeing groups of five to six regions, and corporate leadership

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overseeing all divisions. Each successive level of management has greater influence on company-

wide matters—such as contracting, financial reporting, facility safety protocols, and training

initiatives—and less influence on day-to-day operational matters—such as resident care plans,

staffing arrangements, and the execution of company directives, which are implemented at the

facility level.

        13.       The relationship between CMC II and the Managed SNF Operators is typical of the

skilled nursing care industry. CMC II is a revenue-neutral “pass-through” entity designed to

achieve economies of scale by consolidating certain key functions necessary for operating the

Managed SNFs. The fees paid to CMC II by the Managed SNF Operators are designed to offset

the SNFs’ pro rata shares of the expenses, without markup, incurred by CMC II in carrying out

these functions.4

        14.       The managerial functions carried out by CMC II include: operational support,

regulatory guidance, legal and compliance, finance and accounting, IT services, and human

resources. Through CMC II, the Managed SNF Operators are also able to obtain favorable

volume-based pricing from suppliers and vendors, allowing them to operate more efficiently and

cost-effectively. CMC II and its employees do not provide direct care to residents and do not

directly bill any healthcare payor for reimbursement of their services.

        15.       The 140 Managed SNFs typically have an aggregate census of approximately

14,000 residents, although this number has dropped to approximately 12,000 due to decreased

intake volume resulting from the COVID-19 pandemic. To provide management services to these



4
    Certain management agreements provide for a potential incentive payment to CMC II based upon dividends or
    capital transaction proceeds paid up to LVCC’s equity investors; however, no incentive fees have been earned
    or paid to date and none are anticipated.

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facilities, CMC II employs approximately 475 individuals based in Alabama, Arkansas, California,

Florida, Georgia, Kentucky, Louisiana, Maryland, Mississippi, Minnesota, North Carolina, Ohio,

Pennsylvania, South Carolina, Virginia, Tennessee, and West Virginia.

         16.      The Operator Debtors (Marshall and Governor’s Creek), whose facilities each have

a 120-bed capacity, together employ approximately 170 people. Approximately 80% of these

employees perform nursing and nursing administration functions, and others provide local

administration, social services and activities, and facility maintenance. These two Debtors also

use the services of a variety of individuals, consultants, and firms engaged as third-party

contractors to provide health rehabilitation services, dietary services, housekeeping and laundry

services, medical oversight, administrative services, and IT services.

         D.       Ruckh Litigation Background

         17.      As a result of a lawsuit filed in June 2011 under the Federal False Claims Act, styled

U.S.A. ex rel. Angela Ruckh v. Salus Rehabilitation et al., Case No. 8:11-cv-1303 (M.D. Fla.) (the

“Ruckh Litigation”),5 five Debtors are subject to significant monetary judgments (the “Ruckh

Judgments”), as follows: (i) Sea Crest and CMC II (as successor to Sea Crest), (jointly and

severally), $240,914,900; (ii) Salus, $484,000; (iii) Marshall, $6,266,424; and (iv) Governors

Creek, $10,055,961.

         E.       Transactional History

         18.      The current Consulate organization consists of 140 SNF operators, all of which

receive management services for their respective facilities from CMC II. I understand that



5
    Debtor CMC I was a named defendant for a time in the Ruckh Litigation but was dropped as a defendant through
    an amendment to the pleadings. Except for the five Debtors noted above that are subject to judgments in the Ruckh
    Litigation, no other LVCC entity (including the other 138 SNF operators) are defendants therein or have liability
    therefor. The Ruckh Litigation is discussed in greater detail in Section II.F below.
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Consulate was formed through transactions in 2011 and 2012 involving, among others, (i) a group

of Florida-based SNF operators owned by Genoa Health Care Group, LLC, which itself was part

of a larger group of entities that operated approximately 100 SNFs under the original LaVie brand

(“Legacy LaVie”); (ii) the acquisition of Legacy LaVie by a group of private investors in

December 2011 through the newly-formed LVCC (the “LaVie Acquisition”); and (iii) the

acquisition by LVCC of Consulate Health Care, a separate and independent company operating

approximately 90 SNFs under the Consulate name.

         F.       The Ruckh Litigation

         19.      While the transactions described above were taking place, Ms. Angela Ruckh (“Ms.

Ruckh” or the “Relator”), a former employee of the Operator Debtors’ predecessors-in-interest,

initiated the Ruckh Litigation by filing an action under seal in the United States District Court for

the Middle District of Florida under the federal False Claims Act (the “FCA”) and the Florida state

law equivalent.6 Ms. Ruckh’s June 10, 2011 sealed complaint alleged that “La Vie Health Care

Centers, Inc.”7 defrauded Medicare and the Florida Medicaid program between January 2011 and

May 2011 through certain improper billing practices, including by “upcoding” for services

provided to residents at the Marshall and Governor’s Creek SNFs and artificially timing spikes in

treatment to increase Medicare reimbursements.

         20.      The Ruckh Litigation was brought pursuant to the FCA’s qui tam provisions, which

allow private citizens to bring claims on the federal government’s behalf (the “Government”) as




6
    The False Claims Act, 31 U.S.C. §§ 3729 – 3733, subjects government contractors and related parties to statutory
    damages (including treble damages) in connection with the submission of false claims for reimbursement from
    government programs such as Medicare.
7
    Although the named entity did not exist, the Relator amended her complaint several times to add and drop
    defendants.
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qui tam relators.8 Pursuant to these provisions, the Relator may be entitled to a portion of any

penalties collected by the Government in connection with the Ruckh Litigation, plus attorney’s

fees. Qui tam complaints are filed under seal while the Government determines whether or not it

will intervene in the case and take over the litigation. The sealing requirement is meant to protect

the Government’s interest in maintaining the secrecy (including from the defendants) of any

investigation it conducts in relation to the defendants in a qui tam action.9 The Government filed

a notice of nonintervention on April 10, 2012, and the Ruckh Litigation was unsealed on April 18,

2012.10


          21.      Following the Government’s decision not to intervene in the Ruckh Litigation in

April 2012, the Relator continued to prosecute the case11 and amended her complaint several times.

Following a jury trial in January 2017, on February 15, 2017, the jury awarded verdicts against the

Debtors for damages in the amount of $115,137,095; after treble damages and penalties were

assessed, the court entered judgments in the total amount of $347,864,285 on March 1, 2017. The

judgments were allocated12 as follows:




8
     “Qui tam” is short for the Latin phrase “qui tam pro domino rege quam pro se ipso in hac parte sequitur,” which
     means “he who sues in this matter for the king as well as for himself.”
9
     See State Farm Fire & Cas. Co. v. U.S ex rel. Rigsby, 137 S. Ct. 436, 438–39, 196 L. Ed. 2d 340 (2016) (the FCA’s
     sealing requirement “was intended to protect the Government’s interests, allaying its concern that a relator filing
     a civil complaint would alert defendants to a pending federal criminal investigation.”).
10
     Notably, when LVCC acquired Marshall, Governor’s Creek, Salus, and Sea Crest through the LaVie
     Acquisition in December 2011 and installed a new corporate management team, the Ruckh Litigation was still
     under seal.
11
     The FCA permits a qui tam relator to continue litigating the case at his or her own expense following the
     Government’s nonintervention. If successful, the relator still received a portion of the damages collected by the
     Government, plus attorney’s fees.

12
     See Ruckh v. Salus Rehabilitation, LLC, 963 F.3d 1089, 1098 (11th Cir. 2020).

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                                                                 Judgment        Judgment              Total
Debtor                                                            Amount          Amount           Judgment
                                                                (Medicare)      (Medicaid)          Amount
Sea Crest and CMC II (as successor to Sea Crest)
                                                              $240,914,900     $90,143,000 $331,057,900
(jointly and severally)
Salus                                                            $484,000               N/A        $484,000

Marshall                                                        $6,266,424              N/A      $6,266,424

Governor’s Creek                                               $10,055,961              N/A     $10,055,961

Total                                                         $257,721,285     $90,143,000 $347,864,285

         22.      Following entry of the judgments, the Debtors successfully moved for judgment as

a matter of law notwithstanding the jury verdicts. The court granted the Debtors’ motion on

January 11, 2018, reducing the Debtors’ liability to zero and vacating the judgments.13 Ruckh v.

Salus Rehabilitation, LLC, 963 F.3d at 1098-99. Based on the fact that the federal government

and the State of Florida were aware of the Debtor defendants’ alleged misconduct and nonetheless

continued to make payments under the relevant healthcare programs, the district court found that

the Relator failed to offer proof as to the materiality and scienter elements necessary to trigger

liability under the FCA. Id. at 1099.


         23.      On appeal, however, the Eleventh Circuit Court of Appeals reversed in part and

reinstated a portion of the jury verdicts as to the Relator’s Medicare claims totaling $85,137,095,

plus statutory penalties and treble damages. In June 2020, the Debtor defendants petitioned for a

rehearing en banc but that petition was denied in August 2020. On February 9, 2021, the District

Court entered the judgments against the Debtor defendants described in Paragraph 17 above.



13
     The Relator pursued the Ruckh Litigation in part with the financial backing of ARUS 1705-556 LLC (“ARUS”),
     a third-party litigation funder that apparently purchased a portion of the claim in exchange for providing
     litigation funding. 963 F.3d at 1100-01.

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III.   THE DEBTORS’ CORPORATE AND CAPITAL STRUCTURES

       A.     Corporate Structure

       A simplified corporate organization chart depicting the ownership structure of the
       Debtors and certain affiliated non-Debtor entities is below.




       B.     Prepetition Funded Indebtedness

       24.    CMC II was formed as a company in October 2011 and began managing the

relevant Managed SNF Operators thereafter. Prior to the Eleventh Circuit’s partial reinstatement

of the verdicts in the Ruckh Litigation, CMC II and the Operator Debtors were party to a secured

revolving credit facility with MidCap Financial (“MidCap”, and such facility, the “MidCap
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Facility”). As a result of the Eleventh Circuit’s decision, MidCap required the removal of these

entities as borrowers or guarantors of the MidCap Facility, which removals were effective as of

August 26, 2020.

       C.     Omega Lease

       25.    Prior to the Eleventh Circuit’s partial reinstatement of the verdicts in the Ruckh

Litigation, the Operator Debtors subleased their respective SNFs from affiliated master tenants

under a master lease (the “Original Master Lease”) with certain affiliates of Omega Healthcare

Investors (“Omega”) that covered the Marshall and Governor’s Creek SNFs and 42 other facilities.

Following the Eleventh Circuit’s decision, Omega required removal of the Operator Debtors’

SNFs from the Original Master Lease and the creation of a new master lease (the “New Master

Lease”) between the Operator Debtors and the Omega affiliates that own the real estate for the

Operator Debtors’ SNFs (the “Omega Landlords”). Accordingly, the Original Master Lease and

certain ancillary documents were amended as of August 26, 2020 to remove the real estate

occupied by the Operator Debtors’ SNFs from the lease and modify a judgment default provision

to ensure that it would not be triggered by entry of a judgment in the Ruckh Litigation.

Contemporaneously therewith, the Operator Debtors and the Omega Landlords entered into the

New Master Lease.

       26.    The initial term of the New Master Lease expires on March 31, 2031 and is subject

to two successive ten-year renewal options.       Annual base rent under the Master Lease is

$1,522,066.92. The Operator Debtors granted a security interest to the Omega Landlords as well.

As additional security, the Operator Debtors’ immediate parent, non-Debtor Epsilon Health Care

Properties, LLC, has pledged its membership interests and any other interests it holds in the

Operator Debtors to the Omega Landlords. Moreover, each successive parent entity from Epsilon
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Health Care Properties up to and including the immediate parent of LVCC has agreed to guarantee

the Operator Debtors’ obligations under the New Master Lease Agreement.14

          D.       Vendor Repayment Agreements

          27.      Certain of the Debtors and non-Debtor affiliates are obligors under promissory

notes and payment arrangements with certain vendors and service providers (the “Vendor

Repayment Agreements”). The Debtors which are parties to one or more Vendor Repayment

Agreements include the Operator Debtors, CMC II and CMC I. Each of these vendors provides

key services to the SNFs operated by the Debtors and their non-Debtor affiliates, including

rehabilitative therapy, facilities maintenance, and pharmaceutical purchasing. Although the

amounts owed under the Vendor Repayment Agreements are significant, including approximately

$56 million owed to Genesis ElderCare Rehabilitation Services, LLC and approximately $16

million owed to Healthcare Services Group, Inc., payments on the Vendor Repayment Agreements

are generally current and are being paid by non-Debtor affiliates that are obligors or guarantors

thereof.

IV.       THE CHAPTER 11 CASES.

          28.      The filing of the Chapter 11 Cases was precipitated by the recent entry of the

judgments in the Ruckh Litigation. The Debtors lack the financial capacity15 to satisfy the Ruckh

Judgments and cannot risk an interruption in care to the residents of the Managed SNFs that might

result from enforcement of the Ruckh Judgments. Although the Debtors remain open to a



14
     The names of these parent guarantors are provided in the Debtors’ corporate organizational chart in Section III.A
     above.
15
     As noted above, CMC II does not charge a mark-up on the services it provides to the Managed SNF Operators,
     and, thus, does not generate excess free cash flow. The two Operator Debtors generate modest free cash flows,
     but are well short of the amounts needed to satisfy those entities’ respective liability under the Ruckh Judgments.
     The remaining Debtors are not operational.
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constructive dialogue to resolve the Ruckh Judgments, prior efforts have not resulted in a

resolution. Accordingly, the Debtors’ efforts are focused on continuing to serve residents of the

Managed Facilities while implementing a process to market and sell their assets for the highest

and best price and distribute the proceeds pursuant to the Bankruptcy Code’s priority scheme.

       29.     To oversee and facilitate the value-maximization process, the Debtors appointed an

independent manager, Mr. Alan J. Carr of Drivetrain, LLC (the “Independent Manager”), with

authority to review, approve and implement strategic alternative transactions, including strategic

restructuring alternatives, and appointed me as Chief Restructuring Officer. Meanwhile, to ensure

the continued delivery of safe and reliable services to the Debtors’ residents, as well the non-

Debtors managed by the Manager Debtor, the Debtors’ senior management team remains in day-

to-day control of the Debtors’ operational affairs. The Debtors will continue to prioritize the safety

of residents in their care while maximizing the value of their estates and distributions to creditors.

The Debtors likewise remain ready and willing to work with the Government and the Relator

towards a consensual resolution.

       30.     Prior to the Petition Date, the Debtors engaged Evans Senior Investments (“ESI”)

to act as their broker for purposes of procuring financing for the Chapter 11 cases and in connection

with a potential sale of the Debtors’ assets. In seeking to procure post-petition financing, ESI

solicited forty (40) different third-party lenders.       Although this process did not yield any

indications of interest for financing the Debtors during these Chapter 11 Cases from third parties,

the Debtors received a proposed DIP term sheet from an affiliate of the Debtors (the “Proposed

DIP Lender”) for a multi-draw term loan facility with a maximum credit amount of $5 million.

       31.     Ultimately, the Debtors, in conjunction with their advisors, determined that the

terms and conditions of the proposed DIP financing was and remains the best available under the
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circumstances and adequately addresses the Debtors’ financing needs during these Chapter 11

Cases. Importantly, the DIP financing was negotiated at arms’ length among the Proposed DIP

Lender, the Debtors’ proposed counsel, and the CRO, and was vetted and approved by the

Independent Manager. The proposed DIP financing provides the best and only path forward to

address the Debtors’ immediate liquidity needs to ensure that they are able to continue operating

their businesses and provide for the care, welfare and safety of their residents.

       32.      With assistance from ESI, the Debtors have also conducted a thorough market

analysis in connection with the potential sale of the Debtors’ assets. ESI created marketing

information concerning the Debtors and their assets and a data room with diligence information

for prospective purchasers. ESI contacted more than 100 entities regarding potential interested

in acquiring the Debtors’ assets. Many of these parties entered into confidentiality agreements

with the Debtors. ESI engaged with prospective purchasers and responded to various inquiries

from such parties.

       33.     The process has been successful, and has resulted in multiple term sheets from

different prospective purchasers. One term sheet provides for the sale of assets of the Operating

Debtors to a third party, while the other term sheet, signed shortly prior to the commencement of

these cases, provides for the sale of assets of the Manager Debtor and certain other assets to an

affiliate of the Debtors. The Debtors are negotiating stalking horse agreements with each

purchaser and expect to file motions in the coming days to approve bidding procedures and

schedule hearing dates relating to each of these transactions.

                             PART II: FIRST DAY PLEADINGS

       34.     Contemporaneously herewith, the Debtors have filed a number of First Day

Pleadings in these Chapter 11 Cases seeking orders granting various forms of relief intended to
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facilitate the efficient administration of these Chapter 11 Cases and pursue and consummate a

joint plan of reorganization and liquidation.

         35.   I have reviewed each of the First Day Pleadings listed on Exhibit A, and the facts

set forth therein are true and correct to the best of my knowledge, information and belief.

         36.   I believe that the relief requested in the First Day Pleadings is necessary to avoid

immediate and irreparable harm and to allow the Debtors to operate with minimal disruption

during the pendency of these Chapter 11 Cases.

         37.   Accordingly, for the reasons stated herein and in each of the First Day Pleadings,

I respectfully request that each of the First Day Pleadings be granted in its entirety.


Dated:         March 1, 2021
               Chicago, Illinois


                                                By:    /s/ Paul Rundell
                                                Name: Paul Rundell
                                                Title: Chief Restructuring Officer
                                                       Alvarez & Marsal North American
                                                       Corporate Restructuring




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                                     EXHIBIT A

                           List of First Day Pleadings
1.   Joint Administration: Motion of Debtors for Entry of Order (I) Directing Joint
     Administration of Cases and (II) Waiving Certain Requirements of Bankruptcy Code
     Section 342(c)(1) and Bankruptcy Rule 2002(n)

2.   Consolidated Creditors: Motion of Debtors for Entry of Order (I) Authorizing the Debtors
     to (A) File a Consolidated Creditor List of Creditors in Lieu of Submitting a Separate
     Creditor Matrix for Each Debtor, (B) File a Consolidated List of Top 30 Largest Unsecured
     Creditors, and (C) Redact Certain Personal Identification Information for Individual
     Creditors; and (II) Granting Related Relief

3.   Confidentiality: Motion of Debtors for Entry of Order Authorizing the Implementation of
     Procedures to Maintain and Protect Confidential Health Information

4.   Claims Agent Retention: Application of Debtors for Order Appointing Stretto as Claims
     and Noticing Agent for the Debtors Pursuant to 28 U.S.C. § 156(c), 11 U.S.C. § 105(a),
     and Del. Bankr. L.R. 2002-1(f), Nunc Pro Tunc to the Petition Date

5.   Cash Management: Motion of Debtors for Entry of Interim and Final Orders (I)
     Authorizing Continued Use of Existing Cash Management System, Bank Accounts, and
     Business Forms; (II) Modifying Certain Requirements of 11 U.S.C. § 345(b); and (III)
     Authorizing Continuance of Intercompany Transactions and Honoring Certain Related
     Prepetition Obligations

6.   Employee: Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
     Debtors to (A) Pay Certain Prepetition Employee Obligations and (B) Continue Employee
     Benefit Programs and (II) Granting Related Relief

7.   Insurance: Motion of Debtors for Entry of Interim and Final Orders Authorizing Debtors
     to (I) Maintain Existing Insurance Policies and Pay All Insurance Obligations Arising
     Thereunder, (II) Continue to Honor Premium Finance Obligations, and (III) Renew,
     Revise, Extend, Supplement, Change, or Enter Into New Insurance Policies and Insurance
     Premium Financing Agreements

8.   Taxes: Motion of Debtors for Entry of Interim and Final Orders Authorizing Debtors to
     Pay Certain Prepetition Taxes and Related Obligations

9.   Utilities: Motion of Debtors for Entry of Interim and Final Orders (I) Approving Debtors’
     Proposed Form of Adequate Assurance of Payment; (II) Establishing Procedures for
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      Resolving Objections by Utility Companies; (III) Prohibiting Utility Companies from
      Altering, Refusing, or Discontinuing Service; and (IV) Authorizing Debtors to Honor
      Obligations to Payment Processors in the Ordinary Course of Business

10.   Resident Programs and Practices: Motion of Debtors for Entry of Interim and Final
      Orders Authorizing Debtors to Continue Resident Programs and Practices and Honor
      Certain Prepetition Obligations Related Thereto

11.   DIP Financing: Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
      the Debtors to Obtain Post-Petition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362,
      364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e), (B) Granting Senior Liens And
      Superpriority Administrative Expense Status; (II) Scheduling Final Hearing; And (III)
      Granting Related Relief




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